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               IN THE UNITED STATES DISTRICT COURT FOR THE

                        WESTERN DISTRICT OF OKLAHOI\{A


UNITL,D STATES OF A]\'IERICA,                      )
                                                   )
                       Plaintiff.                  )
                                                   )
               -t s-                               )       No. CR-24-362-SLP
                                                   )
AUSTIN GAGE OSBORn-.                               )
                                                   )
                       Dcfendant.                  )

                                    PI- I.]A A( ; IIEII I\I EN'T


                                         Introduclion

       I.      'this Plea Agreement, in conjunction rvith a Plea Supplement filed

contemporaneousll' under seal. contains the entire agreement benveen Defendant Austin

Gage Osbom and the tJnited States conceming Del'endant's plea of guilq' in this case. No

other agreement or promise exists. nor may any additional agrcement be entered into unless

in rvriting and signed by all parties. Any unilateral modillcation of this Plea Agreement is

herebl' rejected by the Unitcd States. This Plea Agreernent applies only to the criminal

violations described and does not apply to any civil matter or an1' civil lbrtbiture

proceeding except as specitically set tbrth. This PIea Agreement binds only the United

States Attorney's Office for the Westem District olOklahoma and does not bind any other

l'ederal. state. or local prosecuting. administrative. or regulatory authorit)'. If Defendant

does not accepl the tcrms of this Plea Agreement bl November 26' 2024- the offer is

rvithdrau n.
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                                          G uiln' l'lea


       2.      Dcl-cndant agrecs to enter a plca of guilty to a two Count Superseding

Infbrmation in Case Nurnber CR-24-362-Sl-l'. Count I of the Superseding Information

charges Defendant \\'ith engaging in the busincss ofdealing firearms rvithout a license in

violation of l8 IJ.S.C. $S 922(aXlXA) and 923(a). To be fbund guilty of violating l8

U.S.C. $$ 922(a)(lXA) and 923(a). as charged Count I ofthe Superseding Information.

Delendant must admit, and does admit. that bctrveen on or about July 25, 2024, ar.d on or

about August 9.2024. in the Westem District olOklahoma: ( I ) Defendant u'as a dealer in

llreanns engaged in the business of selling fireanns at rvholesale or relail: (2) Defendant

engaged in such business rvithout a license issued under federal larv: and (3) Defendant did

so rvillfulll'rvith knowledge that his conducl rvas unlarvfi.rl.

       3.      Count 2 oithc Superseding Inforrnation charges Defendant rvith being a drug

user in possession of firearms in violation ol' l8 U.S.C. S 922(g)(3). To be found guiltl ol

violating l8 U.S.C. $ 922(gX3), as chargcd in Count 2 of the Superseding lnformation.

Defendant must admit, and does admit. that between on or about July 25. 2024. and on or

about August 9.2024. in the Westem District ofOklahorna: ( I ) Def'endant rvas an unlarvful

user ofa controlled substance: (2) Defendant knerv he tvas an unlarvful user ofa controlled

substance; (3) on the approximate dates. Delbndant knowingly possessed firearms; and (4)

the firearms had traveled in and affected interstate or foreign commerce.




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                Maximum Penaltt'. Restitu lion. and Snecial Asscssntcnt

       4.     The maximum penaltl . for Count I of the Superseding Information. that

could be inrposed as a result ol this plea is llve (5) years of imprisonment or a fine of

$250,000.00. or both such finc and imprisonmcnt. as rvell as a mandatory special

assessment ofSl00.00 and a term ofsupcn'ised relcase ofthree (3) 1'ears.

       5.     The maximum penalt-v-. for Counl 2 of the Superseding Infonnation. that

could be imposed as a result of this plea is fiftccn ( I 5) years of imprisonment or a fine of

$250.000.00. or both such llne and irnprisonmcnt. as rvell as a mandalo4' special

assessmenl of S100.00 and a term ofsupen'ised relcase of threc (3) 1'cars.

       6.     Delbndant is pleading guilty to multiple counls of conviction, and Defendant

understands that the Court may inrpose the sentence as to each count to mn consecutivcly

to one another. so that the total iniprisonmenl that l)efendant may l'ace is grealer than the

maximurn punishment for any one off'ense.

       7.     In addition to thc punishment described above. a plea of guiltv can afl'ect

immigration status. If Defendanl is not a citizen ol'the United States. a guiltl' plea ma1'

result in deportation and removal from the United States. may prevcnt Defendant front ever

larvfully reentering or remaining in the United States. and ma5' result in the denial of

naturalization. Further. if Defendant is not a citizcn of the Uniled States. Delbndant

knowingly and voluntarily waives any right. pursuant to l8 LJ.S.C. $ 4100. et .seq.. to

request to transl'er service of any sentence of imprisonment or part thereof to Delbndant's
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home country. If Defendant is a naturalized citizen of the United States. a guilty plea may

result in denaturalization.

       8.     ln addition. the Court must order the paymenl of restitution to any victim(s)

of the ofl'ense. Pursuant to I8 [.J.S.C. $$ 3663(aX3) and 3663A. the parties agree that, as

pan of the sentence resulting liom Del-endant's plea. the Court will enter an order of

restitution to all victims olDef'endant's relevanl conduct as detennined by reference lo the

IJnited States Sentencing Guidelines (the "Guidelines").

       9.     Delendant agrees lo pa)'' an1'special assessment(s) to the Oflice ol'the Court

Clerk immediately follorving sentencing. Det'endant understands thal an]' flne or

restitution ordered by the Court is immediately due unless the Court provides for payment

on a date certain or in installments. lf the Court imposes a schedule for paymenl of

restitution. Defendant agrees that such a schedule represents a minimum pa]'ment

obligation and does not preclude the United States Attomey's Olfice from pursuing other

means by rvhich to satisfy Dcf'cndant's full and immediately enforceable financial

obligations. Det'endant accepts a continuing obligation to pay in lull. as soon as possible.

any financial obligation imposed by the Court. Defendant further understands that a failure

to abide by, the terms of any restitution schedule imposed b1, the Court may result in lurther

action by the Court.

       10. For certain statutory offenses. the Court must also impose a tenn of
supen,ised release. rvhich Defendant lvill begin to sen'e after being released from cuslodl'.

For all other otl'enses. the Courl rnaf impose a term of supen'ised release to be sen'ed



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follorving release from custod). During the term olsupen'ised rclease, Del'endant rvill be

subject ro conditions that rvill include prohibitions against violating local. state. or federal

law. reporting requirernents. restrictions on travel and residence, and possible testing for

controlled substance use. If Defendant violatcs the conditions of supervised release. the

Court rnay revoke Dcl'endant's supen ised release and sentence Defendant to an additional

term of imprisonment. This additional tenn of imprisonrnent rvould be sen'ed u'ithout

credit for the time Dcfendant succcssfully spent on supervised release. When combined.

the original term ol imprisonment and an1' subsequent term of imprisonment the Court

imposes may exceed the stalutory maximum prison term allorvable for the offense.

                                    Financial Disclosures

       I   l.   Defendant agrccs to disclose all assets in u'hich Defendant has any interest

or over which Delendant exercises control. directly or indirectly. including those held by a

spouse, nominee, or any other third party. Upon request by the United States. Defendant

agrees (l) to complcte truthfully and sign under penalty of perjury a Financial Statemcnt

ofDebtor by'the change-of-plea hearing. or a date othe$ ise agreed to by the United States.

and (2) to provide updates rvith an1' rnaterial changes in circumstances. as described in l{t

U.S.C. $ 3664(k). rvithin seven days of the event giving rise to such changes. Defendant

understands that the United States s'ill take Defendant's compliance rvith these requests

into account when it makes a recommendation to thc Court regarding Defendant's

acceptance of responsibilit-r'.
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        12. Del'endant also expressly authorizes the United States Attomey's Office to
obtain a credit report on Defendant. in order to evaluate Defendant's ability to satis$' any

financial obligations irnposed b1' the Courr. Finalll. Defendant agrees to noti$' the

Financial Litigation Program ('J:l-P") of the United States Attome)''s Office and to obtain

permission liom [:[.P betirre Defendant transfers an]' interest in properfi'u'ith a value

exceeding $1.000.00. ou'ned directll'. indirectll'. individually. or jointly b5' Defendant.

including anf interest held or os'ned under any name. including trusts. partncrships, or

corporations. Delbndant acknou ledges a con(inuin-q obligation to notily and obtain

pemrission fiom FLP lbr an1' transf'ers of the above-described property until litll

satisfaction of any restitution. fine, special assessment, or other linancial obligations

imposed by the Court.

                                   Sentencing Guidelines

       13. The parties acknorvledge that l8 U.S.C. $ 3553(a) directs the Court to
consider ccrtain factors in imposing a sentence. including the Guidelines promulgated by

the United Statcs Sentencing Commission. Consequentll'. although the parlies recognize

that rhe Guidelines are onll' advison. thel have entered into certain stipulations and

agreements with respect to the Guidelines. Based upon the information knos'n to the

parties on the date that this Plea Agreement is executed. the)'expect to take. but are not

limited to. the lbllorving positions at sentencing:

              a.      l'he parties agtree Defendant should receive a t*'o-level dorvn*ard

adjustment lbr Defendant's acceptance of responsibiliry, pursuant to U.S.S.G. s\ 3El.l(a).



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if Defendant cornmits no further crimes. does not lalsely denl' or fiivolously contest
relevant conduct. and fulll'complies rvith all other terms of this PIca Agreement. Irurther.

if the Court applies that lrvo-level downrvard adjustment. the United States will move for

an additional one-level dou'nu'ard adjustment under U.S.S.G. S 3El.l(b) if it detcrmines

that Dcfendant qualifies lbr the additional ad.iustmcnt bascd on the timeliness of

Defendant's acceptance ol this Plea Agreement and other appropriate considerations in

U.S.S.G. $ 3El.l and its application notes.

       Apart from any expressed agreements and stipulations. the parties reserve the right

to advocate for. and present evidence relevant to. other Guidelines adjustments and

sentencing lhctors for consideration by the United States Probation Ollce and the Court.

       14. The parties have entered into this Plea Agreement undcr the provisions of
Federal Rules of Criminal Procedure I 1(c)( I XA) and I I (c)( I )(B). Del'endant

acknou4edges and understands that the Court is not bound by. nor obligated to accept, these

stipulations. agreements. or recommendations of the United Statcs or Defendant And.

even il the Court reiects one or more of these stipulations. agreements. or

recommcndations. that fact alone u'ould not allow Def'endant to lvithdraw Defendant's plea

of guiltl . Upon Del'endanl's signing of this Plea Agrc.c.ment. the United States intends to

end its investigation ofthe allegations in the Indictmcnt and the Superseding Infbrmation.

as to Del'endant. except insofar as required to preparc lbr further hearings in this case.

including but not limited to senlencing. and to prosecute others. il an1'. invoh'ed in

Defcndanl's conduct. The United States agrees to end any investigation directed



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specificall)' at the foregoing slipulations. agreenrents. or recommendations as to l)el-endant

Hos'evcr. sub.ject to the terms and conditions ol'this Plea Agreenrent and Plea Supplement.

the United States expressll' rcser\:cs thc right 1o take positions that deviate liorn thc

loregoing stipulalions. agreenrents. or recommcndations in the cvent that material crcdible

cr,idencc rcquiring such a deviation is discovercd duringthe coursc ol'its investigation afier

the signing ol'this Plea Agreenrcnt or arises tiorn sources independent ofthe United Statcs.

including thc Unitcd States I'rohation OfIcc.

              \\'aiver of Risht to ,'lrrpeal a nd Brins Collateral Challense

       15. Defendant understands that the (--ourt rvill consider thc factors set foflh in
l8 U.S.C. $ 3553(a) in determining Defendant's sentence. Defendant also understands that

the Court has jurisdiction and authorit-v to impose any sentence rvithin the statutory

maximum lbr the offense(s) to s'hich Defendant is pleading guilq'. Defendant further

understands that 28 U.S.C. $ I 291 and 1 8 U.S.C. $ 3 742 give Defendant the right to appeal

the judgment and sentence imposed b1' the Court. Acknorvledging all ol this. and in

exchange for the prornises and concessions madc bt the United States in this Plea

Agreement. Defendant knorvingly and voluntarily u'aives the follorving rights:

              a.     Defendant rvaives the right lo appeal Defendant's guilty plea. and any

other aspect of Del'endant's conviction, including but not limited to any rulings on pretrial

suppression motions or any other pretrial dispositions of motions and issues:

              b.     Except as stated immediatell' belorv. Defendant rvaives the right to

appeal Def'endant's sentence. including an) restitution. and the manner in shich the



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sentence is detennined, including its procedural reasonableness. If the sentence is above

thc advisory Guidelines range detennined by the Court to apply to Defendant's case. this

rvaiver does not include Defendant's right to appeal the substantive reasonableness of

Defendant's sentencel

              c.     Defendanl u'aivcs thc right to appeal or collaterally challenge the

length and conditions of supervised release, as rvell as an1' sentence imposed upon a

revocation olDefendanl's supervised release:

              d.     Defendant u'aives the right to collaterally challenge or move to

rnodifo (under 28 U.S.C. $ 2255. 18 Ll.S.C. $ 3582(cX2). or any other ground) Defendant's

conviction or sentence. including any restitution. except with respect to claims of

ineffective assistance ofcounsel. This waivcr does not include Defendant's abililv to file

a motion for compassionate release under l8 tJ.S.C. $ 3582(c)( I )(AXi). Defendant.

horvever, rvaives the right to appeal the denial of any motion filed under l8 U.S.C.

$ 3582(cX I )(A)(i) rvhere such denial rests in any part upon the Court's determination that

a sentence reduction is not u'arranted under factors se1 forth in l8 U.S.C. $ 3553(a).

       Defendant acknorvledges that these u'aivers remain in full etl'cct and are

enlbrceable, even if the Coun rejects one or more olthe positions of the United States or

Det'endant set forth in paragraph 13.

       16. Except as statcd immcdiately belorv, the tJnited States agrees to rvaive its
right under l8 U.S.C. $ 3742 to appeal the sentence imposed by the Court and the manner

in *hich the sentence rvas determined. If the sentence is belo$ the advisory Cuidelines



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range deterrnined b1'the Court to applf in this case. this saiver does not include the right

of thc tJnited States to appeal the substantive rcasonableness ol'Defendant's sentence.

                         Waiver of FOIA and Priva cv Act Ri chts

       17. Defendant s'aives all rights. rvhether asserted directll'or b1' a representative.
to request or receive fiom any department or agency of the United States any records

pertaining to the investigation or prosecution of this case. including bul not limited to

records that Defendant may seek under the Frcedom ol lnf-ormation Act, 5 U.S.C. $ 552,

or the Privacl,Act ol'1974. 5 LI.S.C. $ 522a.

                                Oblisations of Defendant

       I   8.   Defendant shall commit no further crirnes. Should Delendant commit any

lurther crimes. knouingll'give lalse. incomplete, or rnisleading testinronl or information.

or othenvise violate any provision of this Plea Agreement. the United States rvill be

released from any obligations. agrccments. or restrictions inrposed on it under this Plea

Agreement, and the llnited States may prosecute Defendant for any and all ol'Defendant's

lederal criminal violalions. including perjury and obstruction ofjustice. Any prosecution

rvithin the scope of this investigation that is not time-baned by the applicable statute of

limitations on the date of the signing of this I'lea Agreement may be brought against

Def'endant. noBvithstanding the expiration ofthc statute of limitations betrveen the signing

of this Plea Agreement and the commencement of that prosecution' Defendant hereb;-

waives all defenses based on the statule of limitations $'ith respect to any prosecution thal

is not time-barred on the date that this Plea Agreement is signed'




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       19. The partics also recognize that ilthe Cou( determines that Delbndant has
violated anv provision of'this Plca Agreement or authorizes Defendant to rvithdras fronr

Dciendant's knorving and Yoluntan guiltl plea entered pursuant to this Plea Agrecment

(a) all *'ritten or oral statements tnadc b1'Del'endant to the Court or to federal or olher

designated lau enlbrcement agents. an)' testinron-\' eiven b1'Defendant before a grandjury

or othcr tribunal. shether belbre or alier the signing ofthis Plea Agreernent. and any leads

hom those statemcnts or testimonr'. shall bc admissible evidence in anv criminal

procecding hrought against [)elendant: and (b) Det-endanl shall assert no clainr under thc

Unitcd States Constitution. anv statute. Federal Rules olCriminal I'rocedure ll(d)(l) and

I I (0, Federal Rule of Evidence 4l 0, or any olher federal rule or law that those statements

or an]' leads liom those slatements should be suppressed. Defendant knou'ingl1' and

voluntarily rvaives Defendant's rights described in this paragraph as olthe time Del'endant

signs this Plea Agreement.

                             Obligations of the flnited Statcs

       20. If Del'endant enters a plea of guilty as described above and fully' meets all
obligarions undcr this Plea Agreement. the United States rvill move to dismiss at sentencing

the Indictment retumed on September 5.2024. as it pertains to Defendant, and the United

States Anomey's Office for the Weslem District of Oklahoma u'ill not further prosecute

Defendant for any crimes related to Det'endant's participation in fireamr-related offenses

during the period liom July l. 2024 through August 9.2024. This Plea Agteement does




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not provide any protection against prosecution for any crime not specifically described

above.

         21. Defendanl understands that the sentence to be imposed upon Defendant is
within the sole discretion of the Court. The tJnited States does not make any promise or

representation as to what sentencc f)eflendanl q'ill receive. The United States reserves the

right to inlbrnr the United States Probation Ollice and the Court ol'lhe nature and extent

ofDefendant's activities rvith respcct to this case and all other activities of Def-endant that

the United States deems relevanl to sentencing.




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                                        Signatrr rcs

        2l .    By signing this Plea Agreement. Det-endant acknorvledges that Def'endant

has discussed the temrs of the Plea Agreemenl rvith Defendant's attorney and underslands

and accepts those lcrms. I"urther. Defcndant acknorvledgcs that this Plea Agreement. in

conjunction sith thc Plea Supplement filed contemporaneouslv under scal. contains thc

onll' terms 01'the agreement conceming Del'cndant's plea of guiltl, in this case. and that

thcre arc no other cleals. bargains. agrecmenls. or understandings rvhich modi$,or alter

tlrese tenrs.

                  ^.41^
       Dated this ['da1    ot' NN?vA/kA .20?1.

                                                 ROBERT J. TROESTLR
       OV                                        Unitcd States Attomey



     MAS B. SNYDI)R                              DREW E. DAVIS
I)cpuq Chiet. Crirninal Division                 Assistant U.S. Attomey
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 (yg\t. 0lbotn
ALISTIN GAGE OSBORN                              BONNIE BLUMI:R
Dcl'endant                                       Artqlyl lbr Delbn




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